Note: This Agreement contains confidential & proprietary information and may not be
disclosed without the consent of both parties or as required by law

GUARANTY AGREEMENT
between
THE EDUCATION RESOURCES INSTITUTE, INC.
and
GMAC BANK

This Guaranty Agreement (this “Agreement”’) is made as of this 30th day of May, 2003,
by and between The Education Resources Institute, Inc. ("TERI"), a private non-profit
corporation organized under Chapter 180 of the Massachusetts General Laws with its principal
place of business at 31 St. James Avenue, 6" Floor, Boston, Massachusetts 02116, and GMAC
Bank, (the “LENDER”), a federal savings bank having a place of business located at 3710
Kennett Pike, Greenville, DE 19807.

WHEREAS, TERI is in the business of providing financial assistance in the form of loan
guaranties to and on behalf of students enrolled in programs of higher education and their parents
at TERI-approved schools; and

WHEREAS, the LENDER is willing to make Loans to eligible Borrowers under the
Program, and TERY is willing to guaranty the payment of principal and interest against the
Borrowers’ default or certain other events as more fully described below, in accordance with the
terms and conditions set forth in this Agreement.

NOW, THEREFORE, in consideration of the mutual covenants contained herein, TERI
and the LENDER agree as follows:

Section 1: DEFINITIONS
As used in this Agreement the following terms shall have the following meanings:

1,1 “Agent” shal] mean State Street Bank and Trust Company, its successors and assigns, in
its capacity as Agent under the Deposit and Security Agreement among TERI, the
LENDER, the Agent, and the First Marblehead Corporation (“FMC”) of even date
herewith (the “Deposit and Security Agreement”).

1.2. “Borrower” shall mean the person, or all persons collectively, including all students,
cosigners, coborrowers, guarantors, endorsers, and accommodation parties, who execute

a Promissory Note individually or, in the case of multiple Borrowers, severally and
jointly, for the purpose of obtaining funds from the LENDER under the Program.

1.3. “Due Diligence” shall mean the utilization by the LENDER of policies, practices

1
Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 1 of 89
L.4

LS

1.6

L?

1.8

1.9

and procedures in the origination, servicing and collection of Loans that comply with the
standards set forth in the Program Guidelines and that comply with the requirements of
federal and state law and regulation,

“Guaranty Claim” shal! mean a claim by the LENDER to TERI for a guaranty payment
with respect to a Loan pursuant to Section 2.1 of this Agreement.

"Guaranty Event" shall mean any of the following events with respect to a Loan:
a. failure of a Borrower to make monthly principal and/or interest payments on a

Loan when due, provided such failure persists for a period of one hundred eighty
(180) consecutive days,

b. the filing of a petition in bankrupicy with respect to a Borrower,
Gs the death of a Borrower, or
d. fraud in the execution of a Promissory Note.

For Loans on which the Borrower is two or more persons, none of the above, with the
exception of paragraph b. and d, shall be a Guaranty Event unless one or more such
events shall have occurred with respect to all such persons. The foregoing
notwithstanding, if a Borrower files a petition in bankruptcy pursuant to Chapter 7 of the
U.S. Bankruptcy Code and does not seek a discharge of the affected Loan(s) under 11
U.S.C. §523(a)(8)(B) of the U.S. Bankruptcy Code, the LENDER at TERI's request will
withdraw its guaranty claim unless or until one of the other Guaranty Events shall have
occurred with respect thereto.

"Loan" shall mean a loan of funds, including al] disbursements thereof, made by the
LENDER to a Borrower under the Program.

“Note Purchase Agreement” means the agreement of that name between LENDER and
The First Marblehead Corporation ("FMC") dated as of even date herewith, as it may be
amended from time to time.

“Program” shall mean the GMAC Bank Student Loan Program as more fully described in
the Program Guidelines.

"Program Guidelines" shal! mean the GMAC Bank Student Loan Program Guidelines
attached hereto as Exhibit A, and all changes thereto as provided in Section 6 hereof. The
Program Guidelines (a) consist of the Program Overview, the TERI] Underwriting,
Origination and Loan Term Guidelines, the Servicing Guidelines, and Program Borrower
Documents (consisting of the forms of Promissory Note and Truth in Lending
Disclosure) and (b) are hereby incorporated in this Agreement by reference and made a
part hereof.

Case 18-01042-; Doc 31-6 Filed 07/26/19 Fatered 07/26/19 11:00:04 Page 2 of 89

10086646 1 |
1,10 "Promissory Note" shall mean a promissory note evidencing a Loan executed by a
Borrower in the form attached hereto as part of the Program Guidelines or as approved

pursuant to Section 3.2 below.

1.11 “Securitization Transaction” shall mean and refer to (a) a purchase of Loans guaranteed
hereunder by a special purpose entity (“SPE”) formed by FMC, which purchase is funded
through the issuance of debt instruments or other securities by such entity, the repayment
of which is supported by payments on the Loans or (b) any other transaction whereby a
Loan is transferred from the LENDER to FMC or one of its affiliates.

Section 2: GUARANTY OF LOANS

2.1 TERI hereby guarantees to the LENDER, unconditionally except as set forth in Section
2.2 below, the payment of 100% of the principal of and accrued interest on every Loan as
to which a Guaranty Event has occurred. “Accrued interest” shall mean interest accrued
and unpaid to the date of payment in full by TERI of a Guaranty Claim, less any interest
that shall have accrued after the filing of a Guaranty Claim but before TERI shall have
received all the documentation necessary to process the Guaranty Claim as set forth in the
Program Guidelines. TERI will use all reasonable efforts to make payment on its
guaranty within sixty (60) days, and will in any event make payment within ninety (90)
days, of receipt by TERI of a Guaranty Claim from the LENDER stating the name of the
Borrower and the type of Guaranty Event that has occurred accompanied by the full
claim documentation required in the Program Guidelines,

2.2 TERI's guaranty is conditioned upon the following:

a. The LENDER must have filed its Guaranty Claim within the time period and
following the procedures specified in the Program Guidelines.

b. The LENDER and its predecessors in interest must at all times have exercised
Due Diligence with respect to the Loan in question (or shall have cured any
failure to exercise Due Diligence under the reinstatement provisions in Section
2.4 hereof and the Program Guidelines), and must have complied with all other
requirements of the Program Guidelines applicable to the Loan.

Bi The LENDER shal! have paid to TERI the Guaranty Fee in accordance with
Section 3,3 below and Schedule 3.3.

d. TERI must have received from the LENDER the Promissory Note relating to the
Loan in question, (i) executed in accordance with the Servicing Guidelines (set
forth within the Program Guidelines), (ii) enforceable against the Borrower
(except as provided in this Section 2.2.d., below), and (iii) endorsed to TERI in
such manner as to transfer to TERI all rights in and title to such Promissory Note,
free and clear of all liens and encumbrances, and of all defenses, counterclaims,
offsets, and rights of rescission that might be raised by the Borrower. Submission

Case 18-01042-; Doc 31-6 Filed 07/26/19 frniered 07/26/19 11:00:04 Page 3 of 89

PWhed646 1)
of a Guaranty Claim to TER] shal) constitute the LENDER’s certification that the
conditions of 2.2.b. and 2.2.d. have been met, and TERL is entitled to rely on such
certification.

Subsections 2.2.b. and 2.2.d, above notwithstanding, if a Loan that is the subject
of a Guaranty Claim was originated by TERI on behalf of the LENDER pursuant
to a Loan Origination Agreement between the parties, (i) TERI will not deny the
LENDER’s Guaranty Claim on such Loan if the sole basis for denial is a violation
of the Program Guidelines or a violation of Massachusetts or federal] law
committed by TERI in the origination process, and (ii) TERI will have no
recourse against the LENDER in the event that TERI’s actions or omissions in the
origination process shall have given rise to a successful defense in favor of the
Borrower in a suit on the Promissory Note relating to such Loan.

2.3.  TERI's guaranty obligation with respect to any Loan shall not be terminated or otherwise
affected or impaired (i) by the LENDER’s or its servicer’s granting an extension of time
to the Borrower to make scheduled payments, or by any other indulgence the LENDER
may grant to the Borrower, provided that all extensions and other indulgences meet the -
forbearance standards and other requirements of the Program Guidelines; or, Section
2.2.d. above notwithstanding, (ii) because of any fraud in the execution of the Promissory
Note relating to such Loan, (iii) because of any illegal or improper acts of the Borrower,
or (iv) because the Borrower may be relieved of liability for such Loan due to lack of
contractual capacity or any other statutory exemption.

2.4 Except as provided in sections 2.2 and 2.3 above, TERI may deny the LENDER’s
Guaranty Claim on any Loan on the grounds of Due Diligence deficiencies. If TERI
properly denies the LENDER’s Guaranty Claim on any Loan on the grounds of Due
Diligence deficiencies, the LENDER may thereafter require that TERI reinstate the
guaranty of such Loan if (a) the LENDER corrects such deficiencies and receives four (4)
consecutive full on-time monthly payments from the Borrower, according to any
schedule permitted by the Program Guidelines, and if at the time of the LENDER’s
request the Borrower is within thirty (30) days of being current on all principal and
interest payments on such Loan, or (b) the LENDER satisfies any other methad of cure
set forth in the Program Guidelines.

2.5 TERI's guaranty hereunder is a continuing and absolute guaranty of payment and not
merely of collection, covering Loans made in accordance herewith based upon
applications received by the LENDER prior to termination of this Agreement; and such
termination shall not affect TER!'s obligations to the LENDER then existing, whether
direct or indirect, absolute or contingent, then due or thereafter to become due.

2.6 TERI agrees not to exercise any right of subrogation, reimbursement, indemnity,
contribution or the like against the Borrower of any Loan unless and until all of TERI’s
obligations to the LENDER under this Agreement with respect to such Loan have been
satisfied in full, except to the extent that it is deemed a valid claimant as a contingent

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 4 of 89
4
creditor, for example, under Title 11 of the United States Code (the "Bankruptcy Code"),
or applicable state law.

2.7. TERI will permit the LENDER, any duly designated representative of the LENDER, or
any governmental body having jurisdiction over the LENDER (subject to written notice
being provided to TERI by the LENDER, identifying the requesting party and the date of
the review), to examine and audit the books and records of TERI pertaining to the Loans,
at any time during TERI’s regular business hours, provided that in the case of
examinations by the LENDER or its representative, absent good cause (1) TERI must be
given ten (10) business days’ prior written notice and, (ii) no more than one such audit
may be conducted with respect to any twelve-month period or will take place in any
twelve-month period. In no event will any audit be performed during July, August,
September, or October in any year except at the request of a regulatory authority having
jurisdiction over the LENDER.

2.8 TERI will indemnify the LENDER and hold it harmless from and against any loss, cost,
damage or expense that the LENDER may suffer as a result of claims to the extent they
arise out of TERI's actions or omissions relative to the LENDER’s participation in the
Program and do not arise out of the LENDER’s actions or omissions. "Expense"
includes, without limitation, the LENDER’s reasonable attomey's fees. TERI will further
indemnify the LENDER and hold it harmless from and against any claim brought against
the LENDER by any Borrower based on actions or omissions of the LENDER that were
mandated under the Program Guidelines.

2.9 The LENDER acknowledges that TERI's approval of a servicer is in no way an
endorsement of such servicer and that TERI shall have no liability to the LENDER for
any losses arising from such servicer's failure to comply with Due Diligence or the
Program Guidelines or applicable law, nor shall TERI be required to honor any claim
submitted by such servicer if the claim does not comply with the requirements of this

Agreement.
Section 3: OBLIGATIONS OF THE LENDER

az] In originating (in the event and to the extent TERI is not performing origination services
for Lender), servicing, disbursing, and collecting Loans, the LENDER will comply, and
cause its servicer and others acting on its behalf to comply, at all times with al] Program
Guidelines (including Due Diligence requirements) and all applicable requirements of
federal and state laws and regulations.

aa The LENDER will use Promissory Notes, Loan applications, disclosure
statements, and other forms mutually agreeable to the parties. The forms of Promissory
Notes, Loan applications and disclosure statement attached hereto as part of the Program
Guidelines are agreed to be satisfactory to both parties, Without limiting the generality
of Sections 3.1 and 4.1, the LENDER warrants the conformity of such instruments and
any agreed successors thereto with all applicable legal requirements of the federal Home
Owners Loan Act and of states other than the state of Massachusetts, and TERI warrants

Case 18-01042-; Doc 31-6 Filed 07/26/19 Fntered 07/26/19 11:00:04 Page 5 of 89

(wdos6es6.t |
their conformity with Massachusetts and federal laws other than the federal Home
Owners Loan Act.

b. In addition, upon TERI’s request, the LENDER will submit to TERI sample
copies of promotional and marketing materials used in connection with the Program. No
such request for promotional and marketing materials shal] constitute or be construed as a
representation or warranty by TERI that such materials comply with applicable law or
with the LENDER’s obligations under this Agreement, and no such request by TERI
shall excuse the LENDER’s performance of any of its obligations under this Agreement.
Lender warrants that all promotional and marketing materials it uses in connection with
the Program and its use thereof comply with all applicable federal and state laws and

regulations.
3.3 The LENDER will pay a guaranty fee for each Loan (the "Guaranty Fee") as follows:

a. At the time of each disbursement of the Loan, the LENDER will promptly remit
to TERI of the principal amount of the Loan

disbursed (the "Initial Guaranty Fee’).

b. At such times as are set forth in Schedule 3.3 attached hereto and incorporated
herein by reference, such additional fees as are set forth in the fifth and sixth
columns of Schedule 3.3 (“Subsequent Guaranty Fee”).

i, If the terms of Schedule 3.3 call for any Guaranty Fees to be paid to TERI
or to the Agent concurrent with the Securitization Transaction, the
LENDER shall pay such fees directly (and be reimbursed in the
Securitization Transaction to the extent provided in the Note Purchase
Agreenient).

il, In the event that a Guaranty Claim is made with respect to a Loan before a
Subsequent Guaranty Fee is scheduled to be paid by the LENDER for
such Loan, the Subsequent Guaranty Fee shall become immediately due
and payable.

iii. _In the event that a loan is prepaid in full prior to the date that a Subsequent
Guaranty Fee is scheduled to be paid by the LENDER for such Loan, the
Subsequent Guaranty Fee shal] nevertheless become due and payable at
the time that would have applied if such prepayment had not occurred.
For example, if a Subsequent Guaranty Fee is due at the time of a
Securitization Transaction and a Loan is prepaid before it is eligible for
Securitization, then the Subsequent Guaranty Fee with respect to such
Loan shall become due at the first Securitization Transaction in which
such Loan would have been eligible for inclusion, had prepayment not
occurred,

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 6 of 89

{Wwouees4s 1)
iv. In the event that FMC fails to purchase any Loan under the Note Purchase
Agreement, and the LENDER sells such Loan to a third party, the
Guaranty Fees due with respect to such loan at the time of a Securitization
Transaction will instead be paid by the LENDER at the time the loan is
sold to the third party.

Vv, In the event FMC has no further right or obligation under the Note
Purchase Agreement to purchase a Loan in a Securitization Transaction,
the LENDER shall pay all Subsequent Guaranty Fees that are due to be
paid at the time of secuntization as set forth in Schedule 3.3, Such fees
shall be payable (A) with respect to any Loan already funded, within thirty
(30) days after presentation of an invoice by TERI to the Lender, and (B)
with respect to Loans funded after the date of such invoice, at the time of

disbursement.

Vi. In the event that the LENDER fails te se}l any Loan to FMC because the
LENDER has breached the Note Purchase Agreement, the LENDER shall
pay all Subsequent Guaranty Fees that are due to be paid at the time of
securitization as set forth in Schedule 3.3. Such fees shall be payable
directly to TERI and shall! not be subject to the Deposit and Security
Agreement.

c. Failure to remit any Guaranty Fee within thirty (30) days of the time set forth
above will not affect the validity of the guaranty for any Loan for which the
Guaranty Fee has already been paid in full, but, as a result, TERI will have the
right, at its discretion to (i) void its obligation to guarantee or collect the Loan to
which such Guaranty Fee relates or (ii) collect the amount of any such Guaranty
Fee and to add interest at the rate of eighteen percent (18%) per annum from the
disbursement date of the Loan to which such Guaranty Fee relates, plus any costs
(including attorneys’ fees and expenses) incurred by TERI in collecting or
attempting to collect such Guaranty Fee from the LENDER.

d. Anything in the Program Guidelines to the contrary notwithstanding, if the
LENDER is tequired under the terms of a Promissory Note to refund all or part of
the Guaranty Fees identified above to a Borrower, TERI will refund all or part of
the Guaranty Fee it has received and the Agent will refund all or part of any
Guaranty Fee it has received (in each case related to the refund to such Borrower)
to the LENDER upon being so advised by the LENDER in writing.

3.4 If TERI shall have purchased a Loan pursuant to Section 2.1 above, the LENDER will
promptly repurchase such Loan upon request from TERI if (i) TERI succeeds, after
purchasing, in obtaining from the Borrower three full consecutive on-time monthly
payments, according to any schedule permitted by the Program Guidelines, provided that
on the date of TERI's notice to repurchase, the Borrower is within thirty (30) days of
being current on his or her payments on such Loan, and provided further that this
repurchase obligation may be invoked by TERI only once as to any Loan (in which case,

Case 18-01042-; Doc 31-6 Filed 07/26/19 armtered 07/26/19 11:00:04 Page 7 of 89

(WO0R6646 1}
the Loan shal! be considered “rehabilitated”); or (ii) if TERI should determine that the
Loan does not meet the conditions set forth in subsections b., c. and d. of Section 2.2
above. With respect to the repurchase of any Guaranteed Loan pursuant to this Section
3.4, the repurchase price shall] be equal to (1) the remaining unpaid principal balance of
such Loan, plus (2) any accrued and unpaid interest thereon.

3.5 To the extent permitted by applicable law, the LENDER will (i) deliver to TERI such
reports, documents, and other information concerning the Loans as TERI may reasonably
require, and (ii) permit independent auditors, authorized representatives of TERI and
governmental agencies, if any, having regulatory authority over TERI, to have access to
the operational and financial records and procedures directly applicable to Loans and ta
the LENDER's participation in the Program, LENDER will cause its loan servicer fo
deliver to TERI such reports, documents, and other detailed information concerning each
Loan as TERI may reasonably require. LENDER shall provide a monthly report
containing the information set forth on Exhibit B hereto at LENDER’s expense TER]
shall arrange directly with the loan servicer to receive the report. Any other reporting or
information shall be provided upon TERI’s agreement to reimburse LENDER for its
incremental cost of such report,

3.6 Ifthe LENDER should violate any term of this Agreement, it will be liable to TERI for
all loss, cost, damage or expense sustained by TER] as a result. The LENDER will
indemnify TERI and hold it harmless from and against all loss, cost, damage or expense
that TERI may suffer as a result of claims to the extent they arise out of the LENDER's
actions or omissions relative to the LENDER’s participation in the Program unless such
actions or omissions are specifically required by this Agreement, and do not arise out of
TERI’s actions or omissions. The LENDER will similarly indemnify TERI with respect
to any defenses arising from the LENDER’s violation of or failure to comply with any
term of this Agreement, that may be raised by a Borrower to any suit upon a Promissory
Note. "Expense" includes, without limitation, TERI's reasonable attorney's fees.

Section 4: REPRESENTATIONS AND WARRANTIES

4.1 Each party represents and warrants to the other that its execution, delivery and
performance of this Agreement are within its power and authority, have been authonzed
by proper proceedings, and do not and will not contravene any provision of law or such
party's organizational documents or by-laws or contravene any provision of, or constitute
an event of default or an event which, with the lapse of time or with the giving of notice
or both, would constitute an event of default, under any other agreement, instrument or
undertaking by which such party is bound. Each party represents and warrants that it has
and will maintain in full force and effect all licenses required under applicable state,
federal, local or other law for the conduct of al] activities contemplated by this
Agreement and comply with ali requirements of such applicable Jaw relative to its
licenses and the conduct of all activities contemplated by this Agreement. This
Agreement and all of its terms and provisions are and shal! remain the legal and binding
obligation of the parties, enforceable in accordance with its terms subject to bankruptcy

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 8 of 89
8

iwnnaasad. bh
and insolvency laws. The warranties given herein shall survive any termination of this
Agreement.

4.2 The parties acknowledge that TER] is not an insurer or reinsurer and the LENDER
expressly waives all claims it might otherwise have under applicable law were TERI to
be held by any court or regulatory agency to be acting as an insurer or reinsurer
hereunder. The only obligations of TERI to the LENDER shall be those expressly set

forth herein.
Section 5: MISCELLANEOUS

5.1 Neither party is or will hold itself out to be the agent, partner, or joint venturer of the
other party with regard to any transaction under or pursuant to this Agreement.

5.2 Each party’s respective rights, remedies, powers, privileges, and discretions ("Rights and
Remedies") shall be cumulative and not exclusive. No delay or omission by either party
in exercising or enforcing any of its Rights and Remedies shall operate as fo constitute a
waiver of them. No waiver by a party of any default under this Agreement shall operate -
as a waiver of any subsequent or other default under this Agreement. No single or partial
exercise by a party of any of its Rights and Remedies shall preclude the other of further
exercise of such Rights and Remedies. No waiver or modification by a party of the
Rights and Remedies on any one occasion shali be deemed a continuing waiver. A party
may exercise its various Rights and Remedies at such time or times and in such order of
preference as it in its sole discretion may determine. In no event will either party be liable
to the other for special, incidental, or consequential damages, including but not limited to
lost profits, even if advised in advance of the possibility of the same, or for punitive or
exemplary damages, provided that such exclusions shal] not apply to the indemnification
against an award of such damages pursuant to a third party claim.

5.3. This Agreement (including the Program Guidelines and all exhibits and schedules
hereto), together with (i) the Deposit and Security Agreement and (ii) the Loan
Origination Agreement, of even date herewith, between TERI and the LENDER ((i) and

(ii) together, the “‘Ancillary Agreements”), represents the entire understanding of the
parties with respect to the subject matter hereof. This Agreement, together with any
contemporaneous contract concerning credit analysis and the Ancillary Agreements,
supersedes all prior communications whatsoever between the parties relative in any way
to Loans or the LENDER’s participation in the Program. This Agreement may be
modified only by written agreement of the parties hereto, except as may otherwise be set
forth herein.

5.4 Any determination that any provision of this Agreement is invalid, illegal, or
unenforceable in any respect shall not affect the validity, legality, or enforceability of
such provision in any other instance and shail not affect the validity, legality, or
enforceability of any other provision of this Agreement.

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 9 of 89
9
5.5 Each of the parties will timely implement, if it has not already, and will maintain, a
reasonable disaster recovery plan, Subject to the foregoing, no party hereto shall be
responsible for, or in breach of this Agreement if it is unable to perform as a result of
delays or failures due to any cause beyond its control, howsoever arising, and not due to
its own act or negligence and that cannot be overcome by the exercise of due diligence.
Such causes shall include, but not be itmited to, labor disturbances, riots, fires,
earthquakes, floods, storms, lightning, epidemics, wars, hostilities, terrorist acts, civil
disorder, expropriation or confiscation of property, failure or delay by carriers,
interference by civil and military authorities whether by legal proceeding or in fact and
whether purporting to act under some constitution, decree, law or otherwise, acts of God
and perils of the sea.

5.6 This Agreement shal] be governed by and construed in accordance with the laws of the
Commonwealth of Massachusetts, without regard to the conflict of laws provisions

thereof,

5.7 This Agreement will be binding on the parties’ respective successors and assigns. Except
as otherwise set forth in this Section 5.7, this Agreement may not be assigned by either
party without the other’s written consent.

a. The LENDER may, without TERI’s consent, assign any Loan, together with the
provisions hereof as applicable to such Loan, to another entity participating in the
Program, or to an SPE formed by the LENDER, in each case upon written notice to
TERI.

b. TERI specifically acknowledges that FMC or an SPE sponsored by FMC is expected
to purchase some or all of the Loans, and this Agreement shall inure to the benefit of
FMC or any such SPE upon such purchase. No notice of such purchase or consent to
the assignment of the LENDER’s rights under this Agreement in connection with a
purchase of some or all of the Loans by FMC or any SPE sponsored by FMC shall be
necessary.

c. In assigning any Loan and its rights under this Agreement relating to such Loan in
accordance with Section 5.7(a), (1) the LENDER’s written notice to TERI must be
made within thirty (30) days after said assignment and must identify each Loan to
which such assignment relates, and (ii) TERT will fully cooperate with any
Securitization Transaction or other sale of a portfolio of Loans, provided it is given
thirty (30) days advance written notice of the date that information or documents are
required of it and provided that its reasonable legal fees and other expenses incurred
in connection with such transaction are reimbursed by the seller of such Loans.

d. Except for any assignment hereunder to FMC or any SPE sponsored by FMC in
connection with a purchase of Loans as described in subsection b, above, no
assignment of Loans or the LENDER’s rights hereunder without TERI’s express
written consent shall release the LENDER from any liability to TERI under this
Agreement arising out of the LENDER’s ownership of such Loans (whether arising

Case 18-01042-) Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 10 of 89
10
pnior to, as a result of or after the sale of such Loans by the LENDER) including,
without limitation, the LENDER’s obligation to pay any unpaid Guaranty Fees and to
repurchase Loans pursuant to Section 3.4.

e. The Lender acknowledges that TERI has outsourced or subcontracted some or all of
its administrative functions, including but not limited to the processing of guarantee
claims, to First Marblehead Education Resources, Inc. In addition, the Lender
acknowledges that TERI has subcontracted and may hereafter subcontract any
administrative obligations necessary or convenient to TERI to perform its obligations
hereunder, and that such subcontracts do not and shall not require the consent of the
LENDER. Such outsourcing or subcontracting shall not relieve TERI of its
obligations under this Agreement,

5.8 Notice for any purpose hereunder may be given by any means requiring receipt signature,
or by facsimile transmission confirmed by first class mail. In the case of TERI, notices
should be sent to its President, and if by fax, to (781) 849-8433, In the case of the
LENDER, notices should be sent to its President, with a copy to its General Counsel, and
if by fax, to 215-682-1770. Either party may from time to time change the person,
address or fax number for notice purposes by formal notice to the other party.

Section 6: CHANGES TO PROGRAM GUIDELINES

The parties agree that the Program Guidelines will need to be updated and modified from time to
time te respond to changed conditions. The parties intend to make such modifications in a
manner that does not interfere with the ordinary advertising and origination cycle for education
loans. Amendments necessary to meet state or federal regulatory requirements may be made at
any time. With respect to all other changes, the parties shall exchange requests for modification
of the Program Guidelines, including without limitation any requested changes to the provisions
of the Program Guidelines concerning the Guaranty Fees, in the first part of the first calendar
quarter of each year, Each party shall respond in writing to proposals from the other within thirty
(30) days, and both parties will attempt to resolve any differences within thirty (30) days after
receiving a response to a request. All modifications must be mutually acceptable. Any
modifications approved by the parties and not requiring system adjustments by the LENDER's
loan servicer shall take effect within thirty (30) days after approval. Modifications requiring
system adjustments by the LENDER's loan servicer shall take effect as soon after approval as
such servicer shall be able to adjust its systems to accept loans made on the modified terms, and
the LENDER agrees to take such actions as are reasonably necessary to ensure that such servicer
adjusts its systems as promptly as practicable. The parties shall use their best efforts to conclude
all negotiations of proposed changes prior to May 1 of each year. The foregoing process shall not
apply to modification of the Servicing Guidelines, which are subject to the modification process
contained therein.

Section 7: TERM AND TERMINATION

Tl The initial term of this Agreement shall commence on the date first set forth above, and
shall continue i Thereafter, this Agreement may be renewed by mutual

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 11 of 89

(woog6ed6 1) 1}
agreement of the parties not less than aR cys prior to the end of the then-current
term.

7.2 ‘In the event that the parties are unable to agree on a proposed modification to the
Program Guidelines as provided in Section 6, above, the party proposing the modification
shall have the option of terminating this Agreement effective immediately upon written
notice of termination to the other party, provided that the party desiring to exercise this
option to terminate does so within] days of the end of the I day period
provided in Section 6 for the resolution of any differences. In the event of termination
under this Section 7,2 and for no other reason, neither party shall be subject to any
termination fees or penalties.

7.3. To the extent permitted by applicable law, if either party should become subject to
bankruptcy, receivership, or other proceedings affecting the rights of its creditors
generally, the party becoming subject to such proceedings will promptly notify the other
party thereof, and this Agreement wil! be deemed terminated immediately upon the
initiation of such proceedings without the need of natice to the other party.

7.4 Termination shal] be prospective only and shal! not affect the obligations of the parties
hereto which were incurred prior to such termination or any of the warranties and
indemnities contained herein or the provisions of Section 8 below (regarding
confidentiality). Not less than] days prior to the effective date of termination,
TERI may, by additional notice to the Lender, terminate its obligation to assume the
guaranty of al) or any subset of otherwise qualifying Loans for which applications were
received after the date of Lender’s receipt of such additional notice. In the absence of
such additional notice TERI will, subject to the terms and conditions of this Agreement,
assume the guaranty of all Loans as to which a commitment to lend is made prior to the
effective date of termination. In the event this Agreement terminates or expites and only
one disbursement of a multi-disbursement loan has been made prior to that date, the other
disbursement will also be guaranteed pursuant to the terms of this Agreement.

75 Notwithstanding the foregoing, if the Lender is determined to be a “troubled” institution,
as defined in 12 CFR, Section 563.555, the Office of Thrift Supervision may terminate
this Agreement upon reasonable notice and without penalty,

Section 8: CONFIDENTIALITY; RESTRICTIONS ON USE OF INFORMATION

8.1 During the course of negotiating this Agreement and hereafter during the pendency of
this Agreement, the parties from time to time may have revealed or may hereafter reveal
to each other certain information concerning their respective business plans, business
methods, financial data and projections, and/or information that is not generally known in
the student loan industry, including, without limitation, the terms and conditions of this
Agreement. All the foregoing is referred to herein as “Confidential Information.” In
TERI’s case, its Confidential Information also includes, but is not limited to, information
concerning the operation of its telephone and on-line loan applications procedures, and its

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 12 of 89

CUA RSA 1 1 12
online credit scoring system. Each party will use reasonable efforts to preserve the
confidentiality of Confidential Information contained herein or disclosed to it by the other
party, such efforts to be not less vigilant than those that such party uses to protect its own
proprietary information. The foregoing is subject to the following qualifications:

a. No party will be so bound with respect to information that is or becomes public
knowledge in the student loan industry (but if it does so through any fault of such
party that fault will be considered a material breach of this Agreement);

b. No party will be so bound with respect to information that is now or hereafter
comes into its possession by its own documented independent efforts or from a third
party who, so far as the recipient party has reason to believe, is under no
comparable restriction with respect to such information;

c, Either party may disclose Confidential Information to its attomeys, auditors, agents,
and consultants who are bound to maintain the confidentiality of such information;

d. Either party may disclose Confidential Information in the context of any regulatory -
review of its operations or as compelled by law, regulation, or court order, provided
that in the context of a court order the party required to disclose will (i) give the
other party prompt written notice upon learning of the requirement so that the other
party may take appropriate action to prevent or limit the disclosure, (ii) consult with
the other party and use all reasonable efforts to agree on the nature, form, timing
and content of the disclosure, (iii) except as otherwise agreed under (ii), disclose no
more than its counsel advises is legally required, and (iv) inform the Court and all
counsel concerned that such information is and should be treated as confidential
information of the other party; and

e. Information concerning Loans and Borrowers that comes into TER]’s possession
shall not be considered Confidential Information of the Lender.

f. Without limiting the foregoing, TERI may disclose any of the LENDER’s
Confidential Information to any entity to which TERI subcontracts its obligations
under this Agreement pursuant to Section 5,7(e) hereof.

8.2. ‘In accordance with the provisions of Title V of the Gramm-Leach-Bliley Act (the “GLB
Act”) and Federal Reserve Board Regulation P (“Regulation P”), TERI agrees, as a
financial institution subject to Regulation P, to respect and protect the security and
confidentiality of any “nonpublic personal information” (as defined in the GLB Act and
Regulation P) relating to applicants for Loans and to Borrowers, including, where
applicable, the restrictions on the re-use and disclosure of such information set forth in
the GLB Act and Regulation P.

8.3 Without limiting the foregoing, TERI may retain as its own property and use for any
lawful purpose any or all aggregated or de-identified data concerning Loan applicants and
Borrowers, which does not include the name, address or social security number of the

Case 18-01042-; Doc 31-6 Filed 07/26/19 yantered 07/26/19 11:00:04 Page 13 of 89

(WwO086646.1}
Loan applicants or Borrowers. TERI may sell, assign, transfer or disclose such
information to third parties including, without limitation, FMC, who may also use such
information for any Jawful purpose.

IN WITNESS WHEREOF, TERI and the LENDER have caused this Agreement to be
executed by their duly authorized officers under seal as of the day and year indicated above.

 

 

 

 

THE Peat ee GMAC Bank
INSTI
Or ly Chet py aul ——
a ame: LA MAENTE WW oo *P ole Print Name: M vender ?. Di Coma
Title: (7 RS iat Title:_ SV
{w0086646.3) 13

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 14 of 89
Loan applicants or Borrowers. TERI may sell, assign, transfer or disclose such
information to third parties including, without limitation, FMC, who may also use such

information for any lawful purpose.

IN WITNESS WHEREOF, TERI and the LENDER have caused this Agreement to be
executed by their duly authorized officers under seal as of the day and year indicated above.

THE EDUCATION RESOURCES GMAC Bank
INSTITUTE, INC.

By: a
Print Name: Print Name: Macuaee 7. SS¢ Con
Title: Title. SVP

Case 18-01042-| Doc 31-6 Filed 07/26/19 fntered 07/26/19 11:00:04 Page 15 of 89
TABLE OF EXHIBITS
Exhibit A — Program Guidelines for GMAC Bank Student Loan Program
Exhibit B — Servicer Data Requirements

Schedule 3.3 —- Guaranty Fee Amounts

Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 16 of 89

(wOO86646 1) 1S
GMAC Alternative Loan Program
Program Guidelines

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 

 

 
 
 
 

 
 
 
 

 

 
 
 

 

 
 
 

 

 
 

 

 
 

 

 
 

 

 
Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 43 of 89

 
 
Case 18-01042-) Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 45 of 89

 
ase 18-01042-| ntered O :00:04 Page 4/ of 89

 
Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 49 of 89

 
Case 18-01042-; Doc 31-6 Filed 07/26/19 Entered 07/26/19 11:00:04 Page 50 of 89

 
Case 18-01042-j Doc 31-6 Filed. 07/26/19 Entered 07/26/19 11:00:04 Page 52 of 89

 
 

 
 

 
 
 
 

 
 

 
 

 
 

 
 

 
 

 
 

 
 

 
 

 
 
 

 
 

 
 

 
 
 

 
 

 
EXHIBIT B
Servicer Data Requirements

 
 

 

 
 

 

 
MNVE OVA ONY Taal NAAM Lad LNYAaHOV ALNVAVLS OL ce ATNGAHOS
(T JO | odeq)
£00E TZ Yep]

e002 ‘zi Aew

Case 18-0104

 
